 

@'§Se 1:16- -
_ CV 02134-ALC DOCument 86-20 Filed 08/18/17 Page 1 Of 34

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............................................................. X File NO. f§“/§' 2 ., ,
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E/?e),t//w PA/?l< FA )L/ec»z?e»y, ;W_

Ptaintiff($),

-aeainst~ STIPULATIOE OF
SETTLEMENT

Tr?~y ¢;W‘,

IT lS HEREBY STIPULATED AND AGIU?.ED, by and between the parties, that

the above»entitted action is hereby settled upon the following terms end eondit'tons:
65

D fe LPMM ¢h-»*/,'f
le Thet the Det`endant$‘p§ agree(s) to pay 1 ge 5-5’0- 370 which is a full

end fair sentement of all penies’ claims as follows:
a) /d?¢l’.r.‘)¢? Fer /'t’o#{é Pmc z:?~' *lv; 544 ¢’F
eeeL, m/»~,¢Z ¢.".¢'m've,ez;ei tree/y ffar 1113 eke(

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"51#-¢ 152 ”“”"f'>

J;;) ?L/{e\.e'?p Fe*r 910/454 PH( ad fits {§'” .¢¢’/: *'""""4 h
meet eee,¢¢,.,e,',y_ -r¢,,ry /e; new A»£ zee/earl #m,¢:‘e-,» ere-142 /r\:»¢;j».ee

2. 'neteetepeymeeeeheltbemeeepe_eebtete FZ<',M,./,z£, r§,qr¢e»r',;e,#§_ £<‘:"'F""""
hall .¢W.m'* /¢(ek.f .¢r‘ /é>’/ M"`s?zle‘géw ,e:er,!, ;z¢,;( jjee:=(;;

/)/)KK cles'¢ée: /»eL/_w/K /¢?;'73

nefeeetent(s) agree te place the above me number en eeid peymeeee. ('/ §/5’7'>

3. That upon receipt and negotiation of the above xnonie§, Pleintit`t`(s) shall provide

nefeedent(e)wim,_,e M/n< e/ W P$?'He¢:ee,eee¢e.

Pe\ge 1

 

  

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4 'I`hat in the event of default in the payment provided hereln, Plainttl`i`(s) shall

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Ptetearr(e) snell be entitled te_MMMQMSM ‘"‘ *"”“”"P'
‘t'"‘"/?‘
p+us-rmofeat-=.‘mn: = ."`"“`"*, MMMW§:¢/§/, e' 7

5. That the Det`endant(s) have been provided with an opportunity to retain an
M raw
;-"héfrfrf. F&.,.?

provide a 10 day default notice and if said default is not cured within those 10 days

attorney for this matter and they, after due deliberation, have declined to do so

6. That this agreement contains all the terms, claims and conditions of and between Prrr.,.a¢,-¢ gmi
HF-f" FJHr‘fFJ_

the parties unfit

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Dated: (F ~?/ /3
Bronx,NY

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Kavulieh & Associates, P. C

 

 

B): MatthewD. l(asper, Esq 1 `_ _L_l
rst westchester Ave, seize soon (5®@ civ \r»e#t q -qj
Port Chestcr, NY 10573 "{l'_.) ii ( mt_( t (_)t_lb l

Phene (914) 355-2074
rex (914) 355-2078

   

Page 2

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Wm.-'el tate c:~ rr fur/v afdc

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index Nutnbel': CV-U!IG'!B-II!BX

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tim of the City of Ne\v York

 

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9 l `*‘ Vacate lnqttest C`lerk, stay

,-iGrane. e. etc al. .
‘ entry ol`judgrnent and

Restore to the '[`rial Calendar
A[tpearnnees are mandatory

 

§d}pnn the annexed affidavit ot" l)ebbie Outten, swom to on June 7, 201.3, and upon all papers and proceedings
i'lterein: '

elii Let the Flaintit"i*(s} or Plaintifl"(`s) attorney(s) show cause at:

y Bron'.tt Civil Court

351 Grand Coneoursn, Bronx, New Yttrlt ill-151
Pnrt 34C ~ lloom 504

en b - ?./- /3 et sess AM
or as soon thereafter as counsel maybe heard , why an order should not be made:

To Vtteate Inquest Clerk, stay entry of judgment restore to the Trial Calendar tmdfor dismiss

PENDING the hearing oi` this Order to Sltow Cause and the entry of an Order tltereon, let all proceedings
on the part of the Plaintii"f"(s), Plaintil"f"(s) at'torney(s) and agent(s) and any Marshal or Sheri{‘l`of the City of`New

Yorlt on this action be stayed.

SERV!CE of a copy of this Clrder to Show Cause- and annexed Afi`tdavit, upon the:
Plaintif‘i`(s) or named attorney(s) Sl§crifi` or Marsital
(.iudge to lnitial) (Jt.t geto lnitial] ";‘
by Personal Serviee by " In i-land Delivery" . by l’erson'al Sereice " in Hand Delivery"
§§ by Certit'ied Mail, Return Receipt' chuested by Ce .titied Mail, Ret tm Receipt Reqttested“”_""~»
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Certificate of ltflailin_t_'-,r . ertitieate of Mailintgl

  

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on or before d “'* j 3 "' /j , shall be deemed good and sufficient
PROOI‘ OF SUCH SERVICE may be filed with the Clerlt in tlte i'art indicated above on the return date ofthis
Ordet to Sho\v Cause .

Mail to Attorney: Sherii`l`/Marsltal

Kavulic'.h & Assoc:iat:as

181 Wastchantar Ave

Suito EDOC

Petrt'. Chester, New *.t*ork 10573

June ?,2013 65

 

 

DATE Hott. Eiizabeth A. Tayi€>r. Civil Cout'l lodge (N YCT)
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Page 3
_ _ _, -»»- - ~r---m n m van MMM\

lord f!/Vfw f£,,I"V/IVY 1- v-

Case 1:16-cv-02134-ALC Document 86-20 _Filed 08/18/17 Page 4 of 34

 

iii xxx" \i`\`iii\iiiiiiiii\`\iiiiiiiixxx

-against"

anent an al. Vttettte inquest Clerk, stay

entry ot` the judgment and
restore to the 'l`rial Calentiar

 

` l‘~le\v Yorlt, Bron)t
`Debbie Out'ten,being duly aworn, deposes and says:

lsi
_4`:0 a) I arn the party named as (Det`cndant)(Respondcnt) in the above titled prt:a:eedingl

_3§23_ l request that the Conrt issue an order for: Vacate Inqttest Clet'lt, stay the entry at judgment and
restore to the Trial Calendar

Wx_bg,p lhave a good defense because: 'lii`.. arguing shipped m a ..-.e~.\e_t ¥'~e,e»na‘il-
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) guam lh£weagood excuse/reason beeattae‘. "e 5 3 §§: ,,=, 5 g g h E.-=s~=»§;, g 5

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DK (_a} l ha\ e not had a previous Ordet' to Sltow Canse regarding this index `Ntlrn'oet‘
tb) l have had a previous Ordet to Show Cause regarding this index number but l arn making this
further application because M…M le 5
t\:>`. e“e:=~=\o§l w>’e \e,.e.o»e~ 2.¢~.~.\,..` WMMM..
Sworn to before me this day' *~'“5"""“'& mx`""¢"“xx ”x*r“""-"' Cx-""'}““"'“" \*“"\ `xm* §"“'xx“,.-“- T‘L *F»“-"" “`FD \Q"‘i"'"_‘*'\-

iune7,20l3 x <3\.5=» ¢V-A.¢c.¢\\r‘ '-;t ‘C'e\-:,.~'=t\\o\e-e.

tate Neme)_t§en)¢=>k-- 'UUCC’ x=”
Debbie Clutten. residing at lSEtO Siivet” Stt'-‘Ct, Apt *iG. Bft"t‘\>'i.

Signature ei` Cout't `Etnployee and 'i`itle

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§ 2134f ALC Document 86-20 Filed 08/18/17 Page 7 of 34

 
 

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allow proposed answer or dismissing tlto action /

nncl upon all papers and proceedings

 

UPON tito annexed otiidavit ot` chbic Outtcn, sworn to on /-\pril 15, 20l4,

ltcrcin:

Lct thc Cloimont(s)/Plrtintiti'“(s) or Cloimont(s)/Plaintifl`(s) ott
B)ronx Civil Court
85l Grnnd Concoursc
Bronx, Ncw York 10451
P'rlrt 34 litoont 503
on MAY 1,2014 at 9:30 AM

or ns soon thcrccf`tcr ss cottnscl may bc hcard, why an order s

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thc City of`Ncw Yorlt for thc cnl`o
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Mnil to Attor'noy or pnrty:
cl for Fltt`), ct

 

Kavuliclt & Assooiatcs (Couns
131 Wcstcttcstcr Avc, Suitc SUGC,
Port Chcstcr, Now York 10573 g 1/C{ 9 §§
W€W \/r/r“'~"{, FV\/ IOU/ §
April 15,2014 _
Hon, Joscph E. Capclla, Civil Court lodge (NYC)

 

[`.\ATE
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Case 1: 6-0_\/-02134-ALC Document 86-20 Filed 08/18/17 Page 8 of _34

 

 

`_Jlihe City ol`Ne.w Yorlt, County ol` Bronit index tt CV-illlti'i'§i»lZ/BX
.rlt E.ast'. Housinq Co. , Ino . Aflidavit itt support ot`an order to show cause to
, ~against-

restore ease to the ea|endar, vacate any _judgment,
liens and income executions on tltis defendant on

J;;.»" this lndex number,

..¢“ allow proposed answer or dismissing the action

jrant... ec al.

 

die ot` New ‘i’ork. Countg>r et` New Vortt:
Debbie Outtert being duly swot'n$ deposes and says:

psi (Det'en t's initials)
" l bb )I am the Party named as (Defendant){Respondent) tuttle above titled action

_H_ h) l have not been served, and my first notice of legal action was {NOTE: ifyuu complete atty ot‘ #21),
strip #3, #4, #5. end go te #ti|

a Notiee of Default Judgment mailed to me

a Restraining Netice on my bank aceeunt_

a copy ofan lncente Executien served en

Ctther:

 

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l

 

 

3. a) l` did not appear and answer in the Clerlt's C)l’liee because:|NO“l`E: it` you complete rt 3a, skip and go to itti|.

thpear and answer ln the Clerl~:'s Ol`l'tce
and l received a date f`or trial.

but the answer was entered late
Other: .

 

tlte te ot`Trial before ledgelAthitrator

a stipulation{a written agreement) was made between elaiinantfplaintifl and defendant
judgment was entered tiller the trial.

a judgment was entered against ute by default for my failure to appear
Other:

5. My`.re/asa{t`or not
id complying with the stipulation is

Mwit\g the order of`tlte Court is
appearing in eou\rt on the date scheduled f`or trial` ts

_1'

 

 

 

 

   

    

r_\..¢-»'\-t...q__ \ l .
wet md
6. \)l,allege that l have n good defense tiee_ause: \.-t\ee”: . l died it mci er -l i~e Ho\~»etl rawl .?t: t_¢Jt:i»_e l¢il
L_ d _ l .

 

7. a) l have not had a previous Order to Show Cause regarding this inde:\r nutnber.

bfj\_.."t$)'{liave had a previous Order to Show Cause regarding this index number but lam making this application
because …_...t" '=_=\¢i m

 

8. b §,L.-_»"‘__ l request that the Jttdgtnent be vacated, that the case be restored to the calentlar. that lite answer he deemed
timely filed and permission to serve these papers in person.

 

Sworrt to before me this day April IS, 2014

/WS€ 6 (SllF“ N€ltl`t¢) ltq._.¢,_,li`_'_\ in ` J}\ -t h "Lk
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Page B

 

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NEW YORK CITY MARSHAL
Stephen W. Biegel
109 West BS_th Street, Suite 200 - New Yorlt, NY tOOlB
F'l'tone: (Rl 2) MARSHAL. (627-74‘25) ' little (2|2) 398-2000
N\'C@Mttt‘shalBiegel.eot‘n * www.NchorkCitylvlarshal.eom

   

Apni 10,2014

panels ourrew
1560 steven sr
apr ao
aaottx Nv 10an

JUl)GMliINT CRED|TOR

BRDNX PARK EAST l'iOUSlNG CO INC

VS
DEBBIE OUTTEN
JUDGMENT DEBTOR

NOTICE OF GARNISHMENT

.Please take notice that ajudgtnont has been entered against the above named judgment dcbtor, Pursuant to tlte
INCOME EXECUTION delivered to me, you are required to have your first payment in my ol"lice within 20
days from tlte above date. Paytnetits must be lt}% of your gross wages payable on each payday and must be
accompanied by your most recent paystub. Upon your default, a copy of this execution will be served upon any
person (corporation, etc.) front whom you are receiving or will receive money and will result in additional costs

 

 

to you.
l JUDGMENT ............................... $ti,l l2.l6
l STATUTORY' MARSHM, FEES .......... $O.tlt)
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EXPENSES, . . . . . . $7.45
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IN ADDITI(JN, INTEREST FROM 04/10/14 will be calculated on a
daily basis. You will be notified of ttte final balance due when your
payments approach completion.

 

 

ALL PAYMENTS Sl'lOULD BE MARKED
WI'I`l-I YOUR NAME AND 'l`l-ilS DOCKET NUMBER:

66487
payable te:

MARSHAL STEPHEN W. BIEGEL

 

 

 

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Pagta 9

 

 

Civil Cottrt o the ity of New `Yorlt

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index Nuntber C.`V-t]Zld'?ti-tZ/BX

 

Bromt Par:}c l st Housit‘tg CO., It‘tc:. ORI]EI{ TO SHOW CAUSE

~a in t- "l`o Vacate a Jtttlgtnent, restore case to the Calendar. end

TIOy G,t_‘¢nnt; , _ " g al . vacate atty liens and income executions involving this
_ defendant on this ease. and/or to dismiss
APPEARANCE l$ M'ANDATORY

 

UI’ON the annexed aliidnvlt of I)ebhic Otltten, sworn to on April l l, 2014, and upon all papers and proceedings
herein:
Lct the Claimant(s]i'l’laintif`i`(s) or Ciaitnattt(S)/Plaintil`l`(s) attorney(s) show cause at:
Civil C`ottrt nl`tltc City of New York
851 Grantl Coneourse
Bronx, New \"ork 10451
Part 34 Ronm 503
on A?{-\['/ 1233 £O/L/ at _9:30__ AM
or as soon thereafter as counsel may be heard, why an order should not be made:
VACATING the .ludgment, restorin,tt'1 to the calendar, vacating any liens and income ecutions and/or dismissing
the action if` warranted andfor granting such other and further relief as may be jus
I’ENDING the hearing ot" this Ctrdet' to Show C`ause and the entry ol'an Orde' ereon, let all proceedings on the
part ol` the Clnintant(s)/PlaintiH`(s), Claimant{s)!l’]aintil`f`(s) attorney(s) an gent(s) and any Marshal or Sherifi`of`
the City ol`New Yorlc for the enforcement ol" said .ludgment. be stayed
SERVICE of a copy of this Ot'der to Sltow Cause, and annexed Afi` avit, upon the:
Claintant(s)!Plaintifi`(s) or named attorney(s):
(Judge to tititial) to Initial)
by l’ersonal Scrvice by " in l-land Delivety"
by Certified Mail, R.eturn Receipt Requested

by Personal Service by " In I'Iand Deiivety"
§ by Certit'ied ivlail, Return Receipt Requcsted

 

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Certificate of Mailing Certifieate of Mniling
on or before /¢llI-Dl"'f/ /?fi Mf4 , s t ll be deemed good and sufficient

 

PROOF OF SUCH SERV[CE shall be filed w' t the Clerlt in the l’art indicated above on the return date of` this Clrder to Show
Canse.

Attnt'ney(s): Mail to: Sherif`ii’Marshal:
Kavulich & Associates

(Counscl l`or Pltf)

181 Westehester Ave

Suit'c SUUC

Port Cbester, New Yut‘ 0573

 

 

 

 

/{SA'I‘E l-lon-P-EEIDI:GoetZ. Civil Court lodge (NYC)

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F’.age 10

 

Case `1:16-cV-02134-ALC_ Docume,nt 86-20 l|:i|ed 08/18/17 Page 11 of 34

r`New Yorlt, County of Bronx CV~OZ l 678- l 2fBX

 

 

  
      

 

.'c»using Co . , Inc . Atl`idavit in Support to restore case to the
.t»- eatendar_. and vacate any_judg,ruent1 liens
t al ' and income executions involving this defendant
on this case , and/or to dismiss
"__.County of Bron>t n
:,n,being duly sworn, deposes an
__|'tinls)
ii la) I am the Party named icspondent) in the above titled action.
fri ~:..'_'.:...»-
f§___ `a) l have been served with a summons and complaint in this action. [NOTE: it`Small Claims strip #J, and
g go to # 41

b) t have not been served, and my first notice of legal action was ]NDTE.: it' you complete any etajtl),
skip #3, #4, #5, and go to #6|

a Notiee of Dot'ault ludgtnent mailed to me

a Restt‘aittlt'lg Notice on my bank aecount_

a copy of an income fiseeation served on

Other:

 

 

 

 

 

 

 

a`) l did not appear and answer in the Clerk's C)fi`iec because;fN()1`E: if you complete # 3a, skip and ge to #6|.

b§ l did appear and answer in the Clerk‘s Oifiee
y and l received a date for trial

but the answer was entered late

 

 

 

 

 

 

 

Other: ltl
.- _____ _ ________________ w
4- On the Date of 'I`rial before Judge/Arbitrator ja
. . . . . . tn
a stipulattou(a written agreetnent) was made between clatntantfplatnui`f and defendant. n me

a judgment was entered after the trial. got
ajudgment was entered against me by default i`or my failure to appear. 'Q_J__Z_Q
Other:

" ---~ t is'.
6 My reason for not
complying with the stipulation is

following the order of the Court is
appearing in court en the date scheduled for trial is i\Hl-e'

nfl Other: Tm r") L>De` i-»~.¢_*n.-s¢»-. , :[_‘ locate "-Flr.-t,l_..,l,-l,t .t..;;, §'~`s...c\l \.s_,gg`g._"___;,_r_g-g T trt/ci
d~e‘ sink tt<.t_s_s____;§'H=.= _____ sgt _L_ ss ai »l-...cog -~o::.» t°o;;)___

"" _W;X lz(:) l allege that l have a good defense beeno,=,o; __`t §§ -~t- {zu‘v“-`i t,'-::,: C-J»\ F't e-e-_ + “'t L~.»~t _

lt’~" li?c.“-t ki-`»\'tcs_ 'tt- r").tat'~`> ., __f; u-Dcst,_;..lte;l.-\\ `(\-Q.. -l-r'_\ l
_______ ¢‘_';Ltg_sm_J-T'h_e»..§c 1~ mont rs t";\ r__‘ \..~ .,,»~¢;'__,_M "Q_"‘_';¢s, ,_M;,t'r)¢,s .t;t,s-

 

 

 

 

 

  

 

    

 

a} t have not had a previous Order to Show Cause regarding this index nuntber.
`) l have had a previous Order to Show Cause regarding this index number but t ant tnakin%){tis application

 

 

 

 

 

§ because: _I- ea'sc-»ct.\ r\ l \'<t..@ l: ca tt-Aca.\"“nr.') Ca l:)r.€~»t ‘t-‘»"~t- tw\.
llcss.=\mo..r-£;t.o.ss-.._§.s%Cn_€ti:t~;_s#_i-_d__?i$.i-,t.e,s. --4M--ns..)nstd._rs.»d..-t*.t.-'-:.t.'i.~..---ilc.t..s.l'_ `.l`.a'.--[td:eae-t-l-.l- '.st.ti-.`{'.’."£'sl "‘s`
~ I request that the .ludg,ment be vacated, AND that the ease be restored to the calendar. L":"D-~“’ cf
Swom to before me this d yA ril ll 2014
y § f (Sign `t"~latnc) \\(:) \_“r'l,tldss-x (*iuh i: :i:- ----- 5'
(/- /' Debbie Outten
.'.'ilgrtulure ot`Cou ‘. oycc andTitlc 1560 Silvgr S[I¢@t
Apt 4G ad

Bronx, blew Yorlc til-461

Page 11 l

 

AFF|DAV|T OF SERVlCE

index #: 21§73l2012

Date Flied: 12120)'2012

GlVlL COURT OF THE Gi`l"( OF NEW “{OP.K

BRONX COUNTY

A"l`l'ORNEY(S): KAVUL|CH di ASSOClATES, PC
ADDRESS'. File No 1513?
OUS|NG CO., lNC

 

STATE CJF NEW
ivl A U L
roth State. Cin
at 1212 GOLLEGE

ll] 1/201§ at 3:§0 PM

with index t~lumber

on: TBOY GRAl_"lT\

YORK, COUN'W OF Cli.lEi.'-.N
ZOT, being duly sworn says:

AVENUE. APT BZ. B

2167§;2012, and Dats File tzlgolgo'lg endorsed thereon
lllpfendant therein named

BRONX PARK EAST H .
Plainiiff(s}/Pelr`tionarfs)

V$
TROY GRAN'[', DEBB|E OUTTEN

3 SS:
Deponent ls not a party herein is over 18 years of age and resides tn New

deponent served the within

RDN)(, NX 10456,
5 MON &COMF' |N

deponent the person served to be the person

ill ll~iDill|DtJAi. Eiy delivering a true copy of each to said recipient personaliy',
[ ] described as said person thr~.rainl
#2 CDRPORAT|DN By delivering to and leaving with and that deponent knew the person so served to be Managing Agent of the
[ ] corporationl and authorized to accept service on behalf of the corporation
Servfce was made in following manner alter your deponent was unable with due diligence lo serve the
vdlnessfdelendant fn person and an attempt tc locate lite defendants place of employment
till SUITAELE By delivering a true copy of each to
aGE PE.RSON a person of suitable ago and discretion
[] Said promises is recipients [ l actual place of business [X]
dwelling house (usuai place of abode)within the state.
#4 AFFi,"tlt~lG Eiy affixing a true copy of each to the door of said premises which is recipient‘s: f ] actual place of business [X]
TO DOt'.`iFt dwelling house (usual place of abode) within the state ,
fill
ll5 MAIL CoF"i‘ On lltglzota deponent completed service under the last two section by depositing a copy of the SQMMON§ lt
tx] 0 i=' tltlT to the above address in a ‘tst Class postpaid properly addressed envelope marked “i'-'ersonal and
Conftdaniial" in an official depository under the exclusive care and custody oi the United States Post Cifiice in the
atate of New Yorit.‘ Cenitied Mail t~lob opponent was unshto. with due diligence to and receipient or a person of
suitable age and discretion having called thereat on ill tggta At 3‘§0 PM on tl]let'lj§ At 1235 F’M on litigng
At §‘.03 E
#7 DESCR|PTloN A description of the Delendanl, or other person served. or spoken to on behalf of the Dolendant is as fcitows:
ll Sex g Cotor of Sinrt Go|or of Hair Age l-leighl Woipht Other Features:
fill WlT. FEES The authorized witness lee and l or traveling expense were paid ttenderod) to receipient.
[]
ila Mtt.tTAR‘f SRVC opponent asked person spoken to whether the defendant was presently in military service of the United Stat
es
[ ] Governrnent or the State of NEW YORK and was informed that defendant was not. Reclpiont wore ordinary civilian
clothes and no military uniforrn.
liltl OTHER

ll

 
 

il
THOMAS A. DUNDAS

NOTARY i"-‘UBLiC, State of Nsw Yorit
ND. otDUoUtosttl. Ctuaiifted lri Oueens County

Cornmission Explres 11/30l2014

PRDCESBS SERVBR PLUS INC. I,tIC

EN|MANUEL L,ANZOT
Servera Lic.# taocliliiit$.

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il 107700¢1, 96-11 l.UlS'f` AVENUE`., ZND FL, OZCJNE PARK, NY 1141\5

Page 12

Case 1:16-cv-02134-ALC` Document 86-20 l|:i|ed 08/18/17 Page 13 of 34

JHHMH’ AFFIDAVIT OF BERVICE

Indax #: 21679/2012
CIVIL COHRT QF THE CITY QF NEW YORK DBtB Filadi 12/20/2012
ER¢NX CGUNT¥

ATTORNEY(S): KAVULICH & ASSOEIATES, PC
AUDRESS : File ND 15137

BRONX PARK EA$T HOUBING EQ., INCr
Plainci£frsl!Pecic£onertsi

‘VH.

TROY GRANT, DEEEIE OUTTEN
Defendant(el/Reepondencra)

$TATE OF NEW YORK, COUNTY OF QUEENS SS:

itYL.E.`. ORTIZ. being duly sworn says: i)eponer\l: is notF a party herein. is ever 13 years of
age and resides i.n blew ‘ror:k beate. On i/El/'Zl§li_“_fll at 7:32 E'M

at 1560 EILVER $TR§ET, f-\PT ¢lG, BRONl-l, NY 10461, deponent served the within

SUMMONS & CDMPLAINT

with index Number 21678/2012, and Date File 12/20/2012 endorsed theredn,
on: DE:EBIE Cll.l‘?l“l`lilt\l, Dei:'endanl: therein named

By delivering a true copy of each to said recipient personally: deponent the person served to be the person described

iii |NDlVllJL.lAi.
[] as said person lhereln.
#2 CORPO lay delivering to and leaving with and that deponent knew the person so served to be Managing Agent of the
RA'l“lON corporationl and authorized to accept service on behalf of the eorporation.
{ ] Servlca was made in following manner after your deponent was unable, with due diligence to serve tire
witness/defendant in person, end an attempt to locate tile defendants place of employment

fill SLIITABLE By delivering a true copy of each to gl_|§l'lhl ‘DQE'
AGE PERSON a person of suitable age and discretion
[X] Said premises is recipient'al ] actual place of business [X]

dwelling house (usual place of abode) within the state
By affixing a true copy of each to the door of said premises. which is rocipient's: [ ]K actual place of buslness [X]

fill AFF|.‘<|NG
TO DDDR dwelling house fusual place of abode) within the state.
H
#5 MAlt_ Dn 1f7l2013 deponent completed service under the last two section by depositing a copy of the SUMMON§ §
COPY CQMF*LA|NL to the above address irl a 151 Class postpaid properly addressed envelope marked "Parst‘.\nsll and

{s] Confidential" ln an official depository under the exclusive care and custody of the United States F'ost lelloe in the
State of New Yorl<. Certified Mail No. Deponent was unabla, with due diligence to find recipient or a person of suitable

age and dlacretion. having called thereat on At on At on At
A description of the Defendent. or other person served‘ or spoken to on behalf of the Delendant is as follows:

#7 DESCRl
PT|DN Se>r: MALE. Color of Skln: BLACK. Color of l-lalr: BLAC;K, Age: 'lB-E'l. l-le‘rght: 5'4l5't3. Weight: 201+. Otlter Featuras:
{K] n
#B W|T.FEES The authorized witness fee and tor traveling expense were paid (tendered} to recipient
U
ilii MlLlTAFtY Deponent asked person spoken to whether the defendant was presently in military service of the Llnited
SERVICE$ States Government or the State of NEW YC»RK and was informed that defendant was not.

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MM pierce entity
5ervers ‘c.# 1449333

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NOTARY PUBLIC, State of New York §§
vo. cloueotcats, destined tn cessna county w 5a
commission expires tt/sor2014 ctr § §§
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*N

95-11 1013T AVENUE, ZND FL, OZGNE PRRK, NY 11416

Paocsss ssavss eLus Inc. mci tov'looq,
F’age 13

` Case 1:16-cv-02134-ALC Document 86-20 Filed 08/18/17 Page 14 of 34

Bronx Couhty Civlt Court
Civii Judgrnent

[nd€tx Number: CV-BZ1ETB»12[BX

 

elainrift(s);

Bromc Parit Easl Housing Co.. lnc. Judgmem issued: On mfau"
vs. CJn Moticn of:

Kavulich tit Associates

99‘€"‘13“*(5)= ' ` tel Weslcnesrer Ave, suits sooc. non

Tf°Y G"i‘"‘¢ chester, NY tos“rs-

Debbie Outten
Amount claimed $4_95'1 _B? index Number Faa $45,00 'f`ranscrlpl Fee $U.OU
Less Peymerlls made ${].OO Consun'rcr Credit Fee 50.00 Gourtty Clerk l'-'ee 5000
l,.ess Counterl:|aim OHsot $[]_OO Sgrvir;g Fee $25.00 Enforcernen\ Fee $40.00
interest 12lle2006 al 9% $2,9?0_29 NonsMi|itary Fee $0.0D Olher Disburaemenla $U.UO
Attornoy Fees ' S0.00 Notico ofTriat Fcc $O.DO Dlher Eosts $0.00
C.osl, Ely Statuto $5[].0[] Jury Damand Fee $O_OO
Total Darnages $7.952,16 Total t'_`.osts tit Disbursernents $160_00 Judgment Total $8.112.16

'i'he following named parties, addressed and ldentined as creditors below:

F'laintiff creditor(s) and address

(1) Brorrx P'ark East Housing Co.. |nc.
2324 Eloston Roed. Bronx. New ‘r'orlt 1046?

Ehall recover of the following partles, addresses and identified as debtors below:

Defendant debtor(s) and address

('l} Troy Grarll
1212 Co|lege Ave. Apt 52, Elrom<, New Vork 10456

 

Judgrnent entered at the Elrom< Gounty Civi| Couit. 551 Grand Concourse, Eiromt, NY 10451, in the STA'l'E OF NEW YORK
in the total amount of 53,112.16 on O'i'l16f2013 at 04:49 PM.
Severed and Conlinued as to remaining parties

Judgrnent sequence 3 M M

Caro| A|t. Chief C|erk Civi| Court

 

Civil Court
of the
Cit_v of Ncw 'lr'ork

Jut 16 2013
ENTERED

BRONX COUNTY

 

 

 

lines 1 err

 

CaSe"l:l€-cv-OZlSA,-ALC ' Document 86-20 le

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.F. Cl'l`\' OF NEW YQRI"~'»
nix

 

INDEX NO. 21673/|2
west l-tousing Co., Inc..
";w"" Fll.E NU. 15137.0
“M»‘=N PLAINT[FF[_S) JUDGMEN'['

',!P

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-AG.MN BT»

  

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F-J

2324 enslen need §

Bronx. N¥ lDdiC-»? ¢¢

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S'l`ATl`~.`S 'l`l~h\'l" THE DlSBURSEMENTS ABOVE SPEC!F[ED HAVE BEEN OR » ILL " ‘

'I`UIF.R.I`EIN AND AR[`E l{liA$(_)NAl`ii..ti lN AMCJUN`I`: LJI’C)N FAll.,URl§ "I`C`,} A _ - ;i l'lt.'€ ‘ `IME (`JF ‘I`HE DEI"I":`.NDANTTO AP'PEAR
AND ANSWER l-lERF.l'N [-IAS EXP|RED A`ND THE SAID DEFENDANT - .- lt

THE PENALTHZS OF PERJURY.
[JA'TED: WESTCHESTER. NY

 

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eY: crow i:AvuLici t eeo
131 wearer-mares meade sierra eeoc
ioocMc-:NT unrelated orr

FDI{'|' Ci-HESTER. NY 10573
SliitVl(`_`E Oi:` SUMMDNS AND C`OMPLA|NT IN THIS ACTION ON THE DEFENDANT(S)
i‘HERF.|N ll."\.VINC\ lil`BEN CC)MPLE`E`ED CJN 2/24/3013 WIT}‘I[N 'l`l“l{i ClT‘l' Ol" NEW YQRK CJN dI`i"l!\‘l` IJAY AND MORE THA`N 20
l).¢\\’?§
l‘iAVlNG l`:`l.,.-\PSEI).
BY FILING ON SA|D DAY Ol"` PRC|OF C)F 'i`HE SERVICE 'l`l-ll:`.REOF BY SUBSTITUED SERVlCE ON DEFENDANT{S)

AND MORE 'I`HAN 30 DAYS HAVING tEI-Ai’SE[J SlNC[E THIZ DA‘¢' Ul" COMFLE'['|ON OI'“ SIERVlC`E“. ANL`.\ 'i`l-iE 'I`lME. OF SAID
l'.)f"ll"llNl‘)AN`l`(S`l `l'G AI’PEAR AND ANSWER HAV|NG EXPIRED. AN]`_`)

NOW ON MOTlO`N Cll"` KAVUL|CH & ASSC|C|A'I`ES, P.C, A'l"]'ORNI`_".Y(S) FOR 'I`Hl`i PLA|NTIFF(S) l'I` lS, ADJUI?G|.`£[`) 'I`H.i\'l`
l_l.ron.\' l*arl»; Eus\ i-lousil'ig Co.. inc.

RliS|D|NG A'l`: 2324 lioslon I{oz\d |Jl'onx, NY 10467
i{lf:`l`..`(`)ViER Oi" 'l`l'o)‘ Gmnt,
l`tESlDlNG AT: lllz Col|<:ec Avenue Am. 132 Hronx, NY 104$6-4161

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S¢’\\\=d to -'ni wei-tm Oe‘e\n`.c Oo."c~\c¢\.)

 

CLERK

Pege 15

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W.
TRGY GRANT, DEBB|E Q'UTTEN

ere‘it`a on new Yonrr, oounw or ou”dei~le ee:

EMMAN_L|_ELLAL.[ZQI, being duty sworn secret Doponent is not o perry herein. le over 18 years or age end resides in New
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et RR£DLML&M§BL!ELAEL§LBBQNEM§§\ dewitt BBNBd the Wiihin

 

 

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ii delimited err said person therein
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[; corporation end authorized to eocept newton en detroit et lite oorporeiiton.

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iii AFFDthG By ettixtng e true copy or oaoh le tire door et ee.id premleerr. willett iri rednlem'r»:[ ]eotr.rai pierre ot business [X]
TO Dt}i`.iit dweitinq house (usuel pierre of ebedo} Witi'rin the tilete. ,.= _
[)U
915 WtiL COP‘\’ Ort j.LMQQ_‘L§ deponent oompieted newton under the test eve emotion by depositing rt copy of tire BMMMQN§_&
[x] QQM to the above address in a ter Bler.e pedoetd property eddreeeed envelope merired "Pereoml end

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Eitute of view Yerir. Ceriiiied Mnit Ne. Deponent won unohio. with due diliqu to iiitd receipieni or e portion et‘

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iii UES£`.RJPTiOr\! A description of the Defendent. or other person eenred. or epoiren to on imth of the Det'endent to e\ iolowe:
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#BWiT. FEE$ The authorized witness roe end i er traveling expense were paid (tet‘rderod) to ieoetpi¢rtt.

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aid Mii.|Tii.R‘i' iiva Depone.nt naked person spoken to whether the defendant was presently in mititery service et the Unlted titleth
( l Gevemrnentor tire $tete oi' NEW YDRK end time intended that defendant wee not Ftecipiontwore ordinary oivt_tien

olot.i~ioa end no military uniform
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antonio e\. D
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ND. otDtJttUtEiGt 9. Guel`rlied in C.'tueene Ciounty 3m t '
Cemmieeion E>:piree 11{30[2014 CF C COURT
BRDN)L COUNI"[

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F’age 16

ease 1:16-cv-02134-ALC Documen _, l"'-20 Filed 03/18/17 Page 17 or 34

 

 

_M.$ dan lrtc:.1

PL.A[NT\FF(S) At=t=ID/tvr‘r c;)r-' r-'Ac'rs
constitution 'r‘\-n~: cl.nne
nnnrws‘r Tl-tE DnFAuLT AND Tr-rn

AMOl_il‘~i'l‘ Di.ii?,
'l`roy Grnnr. Debbir: Dtrtton

DEFE.NDANT(S]

 

S'l`r‘t'l't`i Ol" NEW YORK C`OUN'l"‘r" OF WESTCl-lESTER ‘ n
SS: GARY KAVUL¢|CI‘L HSQ. i“iERl.`-.BY DEPOSES AND SAYS UNDE.R 'l`l'“iE. iiifiNAL'l`lES OF PURJURY, Tl'lAT DEFONENT 15 i‘i~ll:.
A'i"i`Oii.NE't' FDR THE FLAlNTlFF(S} lN 'l`l‘tl?, Wl'i`i"iIN ACTIO`N; THIS ACT[GN WAS CDMMENCI£D i`:iY SUBSTITUFD SER.VICE.

Oi` 'l 1 llF. &UMMONS .-'tND COMPLM'N'I` UPC|N DEFENDANT(S_`) ANI.`) 153 AN ACTlON FOR. RENT DUE AND CiWiNCr i"Oii (AFTE.R
Ai’l*LlC)\TiON Ol"` PAYMENT AND SECURlTY l)i€I’OSl'i`)

Dccomlrcr. 2006 beleltr:o ol` 549?..35

.iantrary` 2001 $1,122.38

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March, 2007 $1,122.38

Aprii, 2007 $1.122.38

A'i` ‘1`1-11`3. AGREED MONTHLY RENTAL OF 51.1?.2.38

Al.t. Cl'i'i'lER CAUSES OF ACTION ARE l'ii':`,ii.i"$i?r‘r' WAIVED AND DISPOSED. AFTER A COMPL.ETE AND THOROUGH
ll\iVl€S‘i“iGA'i`iON "l`i-lE DEi`-`ENDANT 13 FOUND NCiT TO BE tN THE MILITAR‘{ AND li.lF,SlDF.S Wi'i`i'rliN '1`1~113. ClTY OF NEW
YORK. RENT WAS NO`|` PAID BY ANY O'i`i'lEi{ SOURCE. 1 MAKE THlS AFFlRMATiON UPON INFORMATION AND BE,LIEF A

iiil,l.rlt§l l’Ri;i_)iC/tTE.D UPON CONVERSAT|ONS WlTH MY CLlENT. MY ii‘iVDi,\/EMENT 114 “I`iii‘?. PROCEEDING A`ND READ|NG
THE FlLE iN 'l`HlS CASE.

Slt“F `IC E`)Nl] Al’\il”_i 'i`l 11111`3 CAL|SE.S OF ACTION ARE HEI{EBY WA|VED. THE CAUSE OF ACT[ON l THE. WiTHlN MATTER.
ACCI{U|:.D lN '1` llE S'i ATE Ol"` NEW YORK. WIIER.E T 111':`. 5 FATUTE Cil"` LlMiTA' T`iDNS Ci`N A e{l‘RACT. UPON WHICH THE
AC"| iON 155 BASED 13 SlX(Ct) YEARS. "11-1E STA' I`UTE OF LlMITATiONS HAS Nl '

WHEREI ORE D[Zl-’ON[;N'l DLMANDS 11.,|DC.1M1::1\1`1` AGM'NS' 1` DE.i-`Ei-i l_ f ` "

  
   
 
    

31 .i:i'?WlTii lN“i`Ei`tES'I` FROM

 

13‘{: GARY KAVULICI‘L i`:`.SQ.
181 WESTCHESTER AVENUE, SUITE SOOC
PORT Cl'iESTER, NY 10573

TO Tl-ll§. DEl-`ENDANT(S): I*LEASE TAKE NOTICE`. THAT THE WiTHiN lS A '1`1{1.5[:`. CCJF‘Y (`.ii: r‘t jUDGMEN'i` MADE AND
EN'l`ERED lN THE WlTl-ilN ENT!'|`LED ACT|ON AND DULY FlLED IN THE DFFiCE OF Tl-lE CLERK Ci[" 'l`HE COUN'I` C)N

DATED: WF.S'i`Cl'll`:`,S'I`ER. NY

Y(.`ii.i RS, i`i"i“C,.
‘Tr` i 020 l 3

/\'i"i`OitNE't'S FOR i`*LAiN'i`ii" 1"
S‘i`)'\'l‘i`€ CJi" NEW YORK1 COL]`NTY OF SS:

BEING i.`ilJl,Y SWORN. DEPOSES AND SAYS; Tl-IAT DEPONENT 15 NOT A PARTY TO THE ACT[ON, 18 OV[~`.R 18 YEARS OF AGE
!\NI_`J RESIDES lN

'i`l'lft'i` ON DEFONENT SER.VED A TRUE COPY Cil"` Ti-ii§ Wl*l`l‘iii'~i JUDGMEN'I` i'-\“Ni) `NUl`iCE OF ENTRY THEREDF
(EACi'i OF) 'l`i‘i E I~`Ol.l.OWlNG NAMED DEFEN DAN'|`{S} A'l` 'l'i-lE. ADDRF.SS(!`ES) lNi]iCA'l`l'F,i) (FOR EACH):

BY DEPOEIT|NG SAME ENCI,DSED lN POSTI’MD Pi{Oi"ERL,Y ADDRESSED WitAi’i‘ER(S}, IN -»A POST OFFIC[Z~ CJFFlCiAL

l)i;l*OSl'l ORY UNDE.R '1`1-113 EXCLUSIVE CARE AND CUS'i`ODY C\F '1`1'115 Ul\il'l`E`i`.i S'i`ATES FD‘STAL SERV|CI:", Wi'i`i'ii`N NEW
YOiiK S'i`r\'i`l€.

SWORN '1'0 BEFORE ME CiN

 

Page 17

Case 1:16-cv-02134-ALC Document 8

 

lNDEK NO. 21678/12

 

Bronx Pe.rir l'-,nsr Housing Co., lnr..,
AFFIRMATION OF

PLAINTIFF(S]
MAILING OF ADDlTiCiNAI,
NOT|CE OF 51,|1'|`

-AGA|NST-

“l`rery Gnmt. Debbir: Ourren
DEFENDANT(S)

AFFIRMS '1

RJURY.

`Hl':`. FOLL.C)WING UNDER '|`l-lE PENAL.TY OF 1113

GARY KAVULlCH, ESQ,.HEREBY
EY l"OR 'i`HE PLAINT!FF(S) l~iER

l THE ABOVE ENTlTLE.D ACTION 1‘.5 AGA!NST A `NA'[`URAL
UPON NON P.AYMENT OF A CONTRACTUAL OBLIGATlON.
(
3. ON 1/23)"2013.1 Nll‘tlt.F:D ft COP\¥SDF '1`1~11£ SUMMDNS AND COMFLAINT [N Tl-lE .-'\BOVE ENT|TLED ACTION BY DEPOSITING
`i`HE ENVELOFE{S) 1b1 AN OFFlClAL D ‘ NDER THE. EXCLUSWI£ CARE AND CUSTODY OF THE U.S. POSTAL.
“ SA!D MAlLlNC\ WAS BY FIRST CLASE MAlL lN A POSTPA]D ENVEi.,Ol“E(S), PKOPER.LY

SERVIC`E WlTliiN NEW ‘{ORK. STATL'..

ADDRESSF.D TG 'l'l-lli DEFENDANT[S} Tl'lF, ENVELOFE(S) BORE THE LEGE.ND

"PERSUNAL & CONI"`H)ENT|AL" AND THERE WAS `NO lNDlCATiON ON THE OUTSlDE 'CitT THE ENVELOPE(S) 'l'i'IA'i` THE
Cll'vl AN ATFORNEY Oi{ CDNCERNED AN ALI_.EGED DEBT. AT DEFE.NDANT(S):

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PERSON AND 13 BASED

nx, N't’ 10456»4161

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ne tire Oeit¢.~) . 1560 silver street Apr. in stems NY teter-2429

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ORE Tl~li€ L.EC.`:`END "PERSDNAL & CON Fli)ENTiAL" AND Ti-iERE

ON ON Tl-'lE OUTSIDE Ol" THE ENVELOPE 'l`HAT THE
LEGED DEBT.

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Case : - -
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arena Par East Housing Co., lnc., PLMN rn»'l~‘_
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cons*rtru'ru~to THa
Trey orom,Debbie Outten, naFENDAt~tTts) amout~tr ours
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hereby deposes and says under the penalties of perjury, ss:
That deponent is the managing agent of Bt'onx Parlt East Housing Co., Inc., Plaintiff in thc within action; this action

was commenced by substituted service of the summons and complaint upon defendant(s) and is an action for breach ot`
a lease agreement in the amount oi` $4.931.87 for the months Decernber, 2006 balance of $492.35;January, 2007
through and including April, 2007 at the agreed monthly rental amount of $1,122.38 per month (after application of
security and after application of payntents) no part having been paid, although duly demanded and Darnages in the
amount oi` $0.00. All other causes oi` action are hereby waived and disposed ot`. Al`ter a complete and thorough
investigation, as I have been informed by Plaintii`l` ' s eounsel, the defendanl(s) isfare l`ourtd not to be in the military and
rcside(s) in the City ol` blew York. cht was not paid by any other source. l make this affirmation upon personal

Knowlcdge.

Wl"IEREFORE, Plaintiff demands judgment against defendant for 54.931.8? with interest from December l, 2006

together with costs and disbursements ol` the action.

Dated: 5/9."2013
Sworn t
on thi%;y of /;

Notary Public

    
 
 
   
      
     
   

 

  

 

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Page ’|9

Page 20 of 34

 

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Brontt Ftttk limit l‘lonsing Co., Inc.,

lndtttt Not 21678!12
File No_ lSlJ'l.(l

 

Ptniatit`l`.
-against- Al"Fll) Vl'l` OF
!NVESTIGATQB
" * " nt, l)cbbie Outten
l 60 l'_‘)et`endnnr(s).
X
S'I`ATF. UF l\lli\V YORK )
`}SS.:

COUNTY Ol*` WES'l`Cl-lESTE`.R }

l am over |3 years ofage.ant note party to this action and reside in westchester County,
Stett: ot`New `t'orlr.

| lttwe been requested by Kavuli¢h dr Associtttett. P\C. attorney For the Plnintii`l`, to make
an investigation to ascertain il` the Dcl`endaot(s} 'l`rcyGrant is at the present
time in military service l`or the purpose ol` entry ol`judgntent.

()n Ju|y |l_l_ Z(JlB, l l_`)cnisc Miranda, contacted the l_`)el`ense manpower Date Center
concerning tbc Dc fcnrlant Troy Grant military statusl

l inpntted the Del`endant‘s name and social security nutnber, as provided by the Del`endant him/herself into the Del'ense
Manpower Dnta Center.

tinder thc l)cl'cndant‘s social security numberl received an affidavit from the Del`ense
Manpower Data Ccntcr stating that the said lJcl`endant is not currently in the military
service olthe United Etatcs and the State ol'Netv York (National v t

's.--...`_`_
Denise livi`iltll"idc

    

Nota Publie `

 

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native Duty Status As Oi: Ju|_;_fl_[_i~_.?t)_i__$

 

 

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t_ipott searching the data banks of the Dopartrnent ol Deienso Manpowor Dat'a Corttor;-basod on the lnlotmation that you prov|dad. the above is the status of
lite individual on the active duty status date as to all branches cl the Unilormod Sarvlces (Army, Navy. N|arlno Gorps. Alr Force. NOAA. Publ|c Heaith, and
Coasl Ciuerdl. This status includes lnlt:trmaliorl on a Servicernernber or hisiher unit receiving notification of future orders to report ior Aollve Dutv.
HOWEVEF|, WlTHCiuT A SUCIAL SECUFtlTY NUMEIEFL THE DEFAFtTMENT OF DEFENSE MANPOWEF! DATA GENTEH GANNDT AUTHOH|TAT|VELY
ASSEHT `t`t-i.l\'i' 'i”HtS IS 't`HE SAME lND|\!IDUAt. `t‘t'tn‘t' YOUF\ CJUEFW FtEFEFtS TO. NAME AND DATE DF EttFtTH ALONE DD NDT UN|CIUELY
tDENTtFY AN |NDIV|DUA|..

warn release

Mary M. 5navaly-E)ixon, Diroetor

Dopartmont cl Dolanso - Martpower Dala Center
4000 Marlt Cortler Drive. Sulte OdEEE

Arl|ngtort, VA 22550

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dunbng C‘,!|ull HBllU _
D'"G has mqu hundr¢os ot thousands cl "dces not possess any information indicating that the

_ alr"td nos oxporionr;oo only s small error ratot in the event the individual referenced above, cr any family

   

ThlS dispense mims the following information itt rite incivitiust's native outy status on ins native catv status pete rst waterhouse individual ten native

Duty status within .'lB? days preceding the Active Duty Status Date (3) Wheiher the individual er hisfher unit received early notification to report iorsctive
duty on the Aciive l.“iuty Ststus Dale.

lvlore information on "Aotive Dt.tty Slatus"

Active duty status es reported in this certificate is defined in accordance with 10 UBC § let(d) {1). Prlcr to 2010 only some el lite active duty periods less
then 30 consecutive days in length were etviiti|iiti:titiil |rt the case of at member of t|'ie Nafiona| Guard, this includes service under a call tc active service
authorized by the Presldent or lite Secretary of Defense under 32 USG § 502(i) for purposes ct responding te a national emergency declared ivy the
President end supported by Federel funds. Atl native C-lusrd deserve (AGR) members must he assigned against an authorized mobilization position in the
t.tnit they st.tpportl “l‘his includes Navy Tratning and Admlntstration ot the Fteserves (TAFis), Marirte t.'Jerps Active Fteserve [AFts) and Geesi Gt.ran'.l Flesenre
Progrerri Adrninislretor tFtFAs}. Active Duty status also applies to a |.lniforrned $ervlce member whole en active duty commissioned ottlcei cl the U.S.
Publio Hoa|th Servico or the Nationa| Dcaanio and Atmospherio Adminisfrafion (NOAA Cort‘imissioned Corps).

Coveragc Under the SGHA is Broader in Some Cases

Covsrago under thc BCFtA is broader in some cases ana includes some categories ot persons cn active duty for purposes cl the $CFIA who would not he
reported ss on Aotivo Doty underlies csrtitioato. SC;FiA protections are tor title 10 end Trtte 14 active duty records lot alt the tinilcrmed $ervices periods
`f‘itto 32 periods of Active Duty arc not covered l;iy EiGFlA, EtS dellith lrt dd<idrddrtdd Wlll'l ‘|Cl U$C § iol(d)ll)-

Ntstny t|rnos»l orders oro amended to extend tho poriod ot active duly, which would extend SCFiA protections Persons seeking to rely on this websile
certification should o|-ts¢i-; to matra sure this orders on which SCFtA protections are based have not been amended to extend the inclusive dates di aervice.
i'-'t_mhorrnoro, some protections of the BOFtA rnny extend to persons who have received orders to report for active duty or io be inducted, but who have riot
actually oregon notice duty or actually reported for induction Ti'ie Lasl Dalo on litciive Dufy entry ia important because a number of protections of lite SCF{A
extend beyond the last dates of active duty.

'l”itcse who could rely on this certiilcate are urged to seek qualified legal counsel to ensure that eli rights guaranteed to Service members under the SCHA
are protected

WAF'lNlNGi Tl'titi- certificate was provided based drl d lEtSl ndt‘tte. SSN!ditle of l:iiiti‘t. end active duty status date provided by the requester. Providing
erroneous information will cause en erroneous certificate to be providsd,

Ct'-.'ir'iificeto iD: H3F63E6E3104DP“|0

Pege 22

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lndcx Numbcr: C`V-iillti’?S-U/BX

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Civii Court of the City of Ncw York
County of Brvun‘x PHH 39

 

 

tacoma Parlc E.a=‘~.t; Housing Cc“.)., Im':. 2313 HAY?{ AH _ ORDERTO SHOW CAUSE'I`O
“agalnsf' 'U'-'S v t 1 'tct »t¢ ta»
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.t` A dr '
mm xii CO OUFH ppetlt‘anccs arc man a ur)

 

U|'mn the annexed affidavit of I)¢:bbic Uuttcn, sworn to on May 17, 2013 and upon all papers and proceedings
iicrcin:
I_.et the Plaintii"f`(s) Or Piaintifi`(s) attomey($) show cause att

Bronx Civi| Cuurt'
351 Grtmd Cunt:ourse, Brumc, NY 10451

Fart Jil_(§ n Room 504
nn \J ¢FJf‘)t-E: `7 ECDA'§") at 9:30 AM

or as soon thereaiier as counsel may be heard , why an order should not be made:
To Vacate Inqm:st' Clcrk, stay entry of judgment restore to the Trial Calcndar and/or dismiss

I’ENI}ING the hearing of this Order to Shc)w Camse and the entry of an Order thereon, let all proceedings
on the part ofthf: Piaintii'i"(s), Plaintiii(s) attorney(s) and agettt(s] and any Ma.rshai or Sheriii`ofthe City of New
York on this action be stayed.

_"_,_...------\ ¢_`,_`__

SERVICE of a cnpy`»tjf"‘this Grdu:_ io~Show Cause, and annexed Afi'tdavit upon ihe:

    

 

Piaintifi"(:t) run aimed attorney(s) Sltcr ii or Mzn'shal

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by Personal Servi't§émhw_in Hanci Deiivery" by Pcrsonai Servit:e by " in Hand Dt:livery"
by C\:rtified Mail, Return Rcceipt Requestcd ` turn Receipt itc 1 ted
by First Ciass Maii with official Post Oi'iice ' ' PGq¢-Dul§\
Certif`tcate of Mailing Certif“tcate of Mailing _

on or before M"-':* Y' 251 Q'C'/ 5 ,slm|l be deemed good and sufficient
PROOE OF SUCH SEF€VICE may be filed with the Cicrk` m the Part indicated above nn the return date of this
Orclcr to Show Cau$c

M:til to Attorncy: Shcril`l`/Marsiml

Kavulich & Associates
131 Westche$ter Ave
Suite EDDC

Port Che$ter, NY 10573

May l?, 2013 f
DATE I-lon, Gerald ch ts, (Iivil C`.`nurt Jucige (NYC)

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restore to the Trisi Celendr-tr

 

State oiNew York, Bron)t
Debbie Outten,being duly sworn, deposes end ssys:

 

 

 

 

 

 

 

 

 

 

 

(I itials
l. ' a) l mn the party named as (Det`endsnt)(Rcspondent) in the above titled proceedingl
2. I request that the Court issue an order for: Vaeate inquest C`lcrlt, stay tile entry of judgment and
restore to the 'I`rial Cslendar
3. Ihave a good defense hecause: `I: with eat -\ ‘r-’ -1 it t"\r bet mrt/1 )=11*
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1~1'1..`1€ t11"1'\’- C`A[]M" (-»1¢..»--1-»\..'51_' “-"/
4- ihsve s good excuse/reason bcesuse: :[`; t, 3 r.,._ 1 C,¢_,€ t_,tms<e..e L¢\ gm usf
Wc.L-¢-. t 1'“\'2.1_1,”) H -1._-¢51 Olr'°¢"_ »._',\ 19 1»"’1~.£~ i?n tjM `:DP.Q LF1,-"l1-'
1’\./1\»\..(2“lr DLv'v\_.-l-.U`\,\_,¢i. --r’i¢~t._Q- 'i_-"D {'§.(1.1(:\ \"v}- tina-11
5. (a) I have not had s previous Order to Show Cause regarding this index Number

13 .§§f§_'i§b) 1 have had a previous Order to Show Cause regarding this index number but I am making this
further application because (/'i`)u,-i t\)t_fi-- \F’t w tr t b 1343 '… \ n .n

k 1 `1"“;1 ';"‘-"1 'f_i'"ltt .-_.s-PA\ odt"v»'-'d dt___i\* \-'~\':t) U-.'>e'\t- 1""\\\-'1\ i_"!¢.oov`? {'-.'.~

Swornlo °éi§re methi day:
Msy 17 01
/ / (Sign Nomet$(\i~ t -, 13 )i/L` [TU€§»

z
_:1/: \- Debbic Outteit. residing el l560 Siiver Strecl Apt tiG Bronx,
.~ ' NY 10116|

       
 

 

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Ci\’il Court of the Clty ol` New York
County of mens Part 39

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Index Number: CV»OZlE»'!li“Il/BX

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Bronx Park Eaat Housing CU., Ind.
eeteyainat:.-P
Troy Granc... at al.

ORDER TO SHOW CAUSE T()

WM`\ Vaeate lnquest Clerk, stay
j

entry ofjudgment and
Restore to tile Trinl Cnlendar
App_earances are mandatory

 

Upon the annexed amdavit of Debbie Ontten, sworn to on April 25, 2013, and upon all papers and proceedings

herein:

Let the Plaintiit`(s) or Plaintifi"(s) attorney(s) show cause at:

Bl'onx Civil Court

851 Grand Concourse, Bronx, NY 10451

I’art 34€ - Room 504

fm lY\.»,u..Jt 1'1 tZ~D/l$at§i:BOAl\/[

or as soon thereafter zia counsel" may be heard , why an order should not be made:
To Vacate Inquest Clerk, stay entry oi`judgmcnt restore to the 'l`rial C'alelldar andfor dismiss

11ENDING the hearing of this GFder to Show Catlso and the entry of an Order thereon, let all proceedings
on the part of the Plaintitl"(s), Plalntit"f(s) attorney(s) and agent(s) and any Mat'shal or Sherift`ot` the City of New

York on this action be stayed.

SERVICE cfa copy of this Order to Show Canse, and annexed At`l"idavit, upon the:

Plaintifl`(s) or named attorney(s)

(Judge to lnitial)

jby Personal Servioe by " in l'Iand Delivery"
by C`ertif'red Mail, Return Receipt Reqoestcd

by First Class Mail with official Post Ot`fioe

Certificate ot` Mailiug

on or before `6”// //_.?>

 

 

Sheriff or Marshal
(Judge to lnltial)

by Porsonal Serviee by " ln leland Delivery“

by Certitied Mail, Return Receipt Requested
by First Class Mnil with olTicial Post Ofiice
Ceitil'tcate ot`Maillng

, shall be deemed good and sttl'l`tcicnt.

FROOF C)F SUCH §ERVICE may be filed with the Clerk in the Part indicated above on the return date of this

Ordel" to Show Caut-:e v

Mail to Attorney:

Kavulich & Aasociatas
181 Weatcheetar Ave
Suita EDOC

Port Chester, NY 105?3

Ap5125,2013

 

§ `;_\.»Q" DATE
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Sheril'f/Marsltal

 

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Hon. David B. Cohen, Clvil Court lodge (NYC)

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ease 1:16-cv-02134-ALC Documem 86-20 Filed 03/18/17 Page 26 of w

 

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q Bron>c Pa::lc East Housing Co., Inc. AFFIDAVIT IN SUPPOI{T TU
“'1'3 _aqainst" Vaeate Inqnest Clerk, stay

Trc)y Grant:. . . et al.
entry of the judgment and

restore to the Trial Caiendar

 

State of blow York, Brontt
,-__ Debbie Outten,being duly sworn, deposes and says:

bo

(lnitials} ..-»-\
m 1. m ana the party named as Defendant) tespondent) in the above titled proceeding

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5. 1!» 151 g (a) l have not had a previous Order to Show Cause regarding this lndex Nurnber
(b) l have had a previous Order to Show Cause regarding this index number but l am making this

further application because

vq
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:1 Sworn to before me this day:
April 25. 2013

 

_1 Debbie Outten, residing at 1560 Silver Street, Apt 4(3, Bronx

o asset assess

Siguature of Court Entbloyee§/ nd “l itle

 

Page 26

 

ClVll,. COURT GF THE CITY OF NEW Y()RK
CGUN'I.`Y Oli' BRONX

 

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Bronx Park East Housing Co., i`nc.,
Plaintil"f`, lNDEX l\l().
FILE NO. i5l37.0 {}j:;-i£.:,§
wagainste

SUMMONS
Placc ol`Venue is Plaintifi"s
place oi` business:

'l"roy Grant, Debbie Duttcn,
2324 Boston Road

"Brortx, `NY 10467
Det"endantt_s)

 

To the above named defendants(s):

YGU ARE HEREBY SUMMONED to appear at the CIVIL CO'URT O`F THE Cl'I"Y OF
NEW YORK, COUNTY O`.F BRONX at the ol"t"tce of the clerk of the said Court at 351 Grand
Concourse, Bronx, NY 10451, in the COUNTY OF BRONX, State of New Yorlt, within the
time provided by law as noted below and to file an answer to the below complaint `
elerl<: upon your failure to answer, judgment will be taken against you f`or the
with interest thereon from December 1, 2006 together with costs of this aetiJ’l

. . '-A¢(
DATED. Deccrnber 18, 2012 ‘v

FEE PA[D By:Gary Kav ¢Frh, Esq:u
» K.avuliclt &'. Associates, P.C.

Attorney [`or Plalrttil`l`

  
     
    

DEC `2 0 2012 181 Westehester Avcnue
am COU'RT St.ttle 500C
Pot't Chester, NY 10573

BRDNX nom (914) 355~2074
Defendant’s Address:
Troy Cirant Debbie Outten,
1212 College Avenue, Apt. BZ 1560 Silver Street Apt. 4G
Bronx, NY 10456~4161 Bronx, NY 10461“2429

Note: The law provides that: (a) ll`tlie summons is served by its delivery to you personally
within the City of New Yorlc, you must appear and answer within TWENTY days alter such
service; or (b) lt`the summons is served by any means other than personal delivery to you

within the City of New `t’ork, you must appear and answer within 'l`l~llR'I`Y days after proof ol`
service thereof is filed with the Clerit of this Court.

Page 27

 

Qé§e 1:16-cv-02134-ALC Document 86-20 Filed 08/18/17 Page 28 of 34

ie'""

C`UMPLAINT

 

FlRS’l` AC'I`ION: Plaintift` seeks to recover damages from tiel`cndant(s} for breach of a lease
agreement in the sum ot`$4,981.8? representing rental arrears for the months ot` December,
2006 balance of` 349?..35; January, 2007 through and including April, 2007 at thc agreed
monthly sum of 5 l ,122.38 for thc premises known as 2324 Boston Road, Apt.9D Bronx, NY

10467 together with costs and disbursements of this action and for such other and further relief
as the court may deem just

SEQQND AQTlON: Plaintit`i` seeks to recover damages from the defendant in the sum ol` $0.00
representing damages together with costs and disbursements of this action and for such other
and further relief as the Court may deem just.

THIRD ACTIDN: Plaintiff seeks to recover damages from the defendant in the sum of"
3500.00 representing reasonable attorneys fees together with costs and disbursements of this
action and l`or such other further relief as the Court may deem just.

WHEREFORE, Plaintif`f` demands judgment (A) on the First Action, in the sum of $4,931.37
plus interest from December l, 2006 together with costs and disbursements ol` this action and
for such other and further relief as the Court may deem just, (B) on the Second Action, in the
sum of $0.00 pitts interest front December l, 2006 together with costs and disbursements oi`
this action and for such other and further relief as the Court may deem just, (C) on the Third
Action, in the sum of $500,00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

The Plaintifi` in this action is NOT required to be licensed by the New York City
Department of Consumer Afl"airs.

F’age 28

 

Civil Court of the City ol` Nevt' Yorlt hides No: CV~llthi'ill»lZfBX

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Bron:-t Park East'. Housing Co., Inc. ORAL ANSW.ER

-against:-' 11 ,
Troy Grant:. . . et al. A(*IION FOR MONL‘\ GNI“Y

 

 

Del`endant, Debbic Ounen, at 1560 Sllvcr Street1 Apt eC», lirons, N't’ 10461, answers the Comnl i tEBows:
A.HSLIER; l)ttted : 02122/201.‘.1 “

 

 

 

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1 _General Denial: l deny the allegations in the complaint FEB 2 2 2013
§EBY].QE
2 __I did not receive a copy ol"the summons and complaint am CQUR‘T
3 _1 received the Sumrnons and Cornplaint, but service was not correct as reqtnnr§lcl)y aw.
4 wl do not owe this debt.
5 _I did not incur this debt. l am the victim ol` identity thell or mistaken identity.
6 mWMI have paid all or part of the alleged debt.
7 Wl dispute the amount ol` the debt.
3 mm l"'laintii`f` is required to be licensed by the department of consumer affairs of the City of New \'orlt and
does not allege a license number in the Complaint.
9 r""'_Ht‘?»tati.tte ot`l,imitations ( the time has passed to sue on this debt)t
10 mThe debt has been discharged in bankruptcy.
l l mThe collateral (property) was not sold at a commercially reasonable price.
12 w Unjust enrichment (the amount demanded is excessive compared with the original debt.)
13 W Violation ot` the duty of good faith and l`air dealing
14 HUneonscionability (the contract is untair.`}
15 m Laches (plaintil’l` has excessively delayed in bringing this lawsuit to my disadvantage.)
16 w Del`endant is in the military.
17 §§ C)ther: l WAS Sl-lARlNG 'l`l-lE RENT Wl'l`l-i THE CO-DEFENDANT.
: ott-nsa
111 Please takell notice that my only source ol` income is 1which is exempt from collection.
coo_t§iisnct,ntm f
10 Countcrclaim(s):$ Reason:

 

 

'I`his case is scheduled to appear on the calendar as fullews:

t)ate: Marclt 15, 2013 t‘art: l’n rt 11 - Sell` l`\tepresentetl Non-.lury Room 503 '1`ime: 10:30 AM Both Sides Notif'tetl:

rl`o:
Ka\'uliclt & Associatcs lD: 1311/11tr
181 Westchester Ave
Suite SOUC
1’ort Chester. NY 10573

Page 20

 

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-against‘

_:i'l;p“'[:> G*EBYH"T Defendant(s)
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lt is hereby stipulated and agreed by-` d between the parties that the above referenced

 

Plgstr~rtLT dormant e'.l'£i>. CB.ALACKM §MW
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Bronx Paric Eaat Housing CO. , Inc:. ORDERT() SHOW CAUSE
“5§5 ll`l 5 t " To Vacatc a Judgnu.'nt, restore case to the Calcndar. and
TrOy G.T_'at`tt . . - Et al . vacate any liens and income executions involving this
defendant on this casc, and/ur to dismiss

M’PEARANCE IS MANDA‘T(]RV

 

Ui’ON lite 11111115-‘€¢€1 affidavit Di" i)cbhic Uurtcn sworn to on /\pri| l? 2014 and upon all papers and proceedings
herein:
Lct the Claimant(s)/l’laintlt`t`(s) or Claimant(s)/Plaintili`(s) attorncy(s) show cause atr
Civil Court of thc City af Ncw Yark
351 Grantl Cnncout‘sc

Bronx, New ‘l'urk 10451
Par't 34 Roarn 503
an Mea>/ ;2,2©1‘4 11_91311“11111
cr as soon thereafter as counsel may bc lteard, why an nrtlcr should not be madc:
ACA'I ING the Judgment testr.)rint.gl to the calcntlar, vacating any liens and' income executions and/or dismissing
c action 11 warranted and/or granting such other and further relief as may bc just
ENDING the hearing of this Ort;lcr to Shcw Causc and the entry of an C)rdcr thcrcon, let all proceedings on the
111-fpm of the Claimant(s)/Plaintifiis), Claimant(s)!Plaintit`f`(s) attorncy(s) and agent(s) and any Marshal or Shcrifl" of
1"iithc City of New Yoric for the enforcement ol`said Judgrncnt be stayed
, :SERVICE ot"a copy ot" this Otcler to Show Cause, and annexed Ailidavit, upon thc:
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1101 before APRIL 23. 2014 , shall be deemed good and sufficient

 
  
   
 
  

 

 

 

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Page 32

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Case 1:16-cv-02134-ALC Document 86-20 Filed 08/18/17 Page 34 of 34

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m n cw.em Qe.o
m m anew H h_`m_m_

 

PF~F~PUE MUK§ ._e~mL L._e.

_…NEQ@ eee §§ demoemmn_ geneva - centum ne$m__.m@emm__w
weemmm_u_m HmEEm eeuEmUE. memume_._r Meme.m .EE:O HBLQQ eng rem ne:..w se EWHEWQ H_…m…§.e_m drew d rem .nmmemu _.,..omm E .EEOH_ seemed

Imm__e__ww.evw

EED ..E.E. TMW me dee .._e_H__ m:mm:om Mmmm seem meom.m hen Hme__m~-mwfm¢-._.._,@

